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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                             Plaintiff,
                 v.                             Civil No. 21-4031-KHV

NEW PLACE II, A KANSAS LIMITED
PARTNERSHIP; JUDY A. DOWD;
KATHLEEN NIBLER, a/k/a KATHY
NIBLER; MICHAEL DOWD; ELIZABETH
ALDRINE, a/k/a LIZ ALDRINE;
PATRICIA DOWD-KELNE, a/k/a TRISH
DOWD-KELNE; CARA SCHROEDER; TY
BACHMANN; TARA WINEINGER;
ROBERT E. COTE; TIMOTHY J.
NEWPORT; ALICE M. NEWPORT;
WALTRAUT E. KINSON; MATTHEW J.
GORSKI; DONALD E. MCINTYRE;
TERIE L. ELKINS; FLORENCE H.
BRIDGMON; BARBARA L. STEPHENS;
BARBARA A. TURNER; DONNA L.
PICOLET; UNKNOWN DEFENDANTS,
including: the Unknown Heirs, Executors,
Administrators, Devisees, Trustees,
Legatees, Creditors, and Assignees of both
Mary Kay Bachmann-Dowd, a/k/a Mary Kay
Bachmann, deceased, and Matthew J. Dowd,
deceased, and the Unknown Spouses of both
Mary Kay Bachmann-Dowd, a/k/a Mary Kay
Bachmann, deceased, and Matthew J. Dowd,
deceased, the Unknown Spouses of other
Defendants; Unknown Stockholders,
Officers, Successors, Trustees, Creditors and
Assignees of Defendants as are existing,
dissolved or dormant corporations; Unknown
Executors, Administrators, Devisees,
Trustees, Creditors, Successors and
Assignees of Defendants as are or were
partners or in partnership; Unknown
Guardians, Conservators and Trustees of
Defendants as are minors or are in any way
under legal disability; and Unknown Heirs,
Executors, Administrators, Devisees,
Legatees, Trustees, Creditors and Assignees
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 of any Person alleged to be deceased and
 made Defendants; Unknown General
 Partners of New Place II, a Kansas limited
 partnership; Known and Unknown limited
 partners of New Place II, a Kansas limited
 partnership; and UNKNOWN OCCUPANTS
 OF NEW PLACE II, A KANSAS LIMITED
 PARTNERSHIP;

                               Defendants.

                 ORDER ALLOWING SERVICE BY PUBLICATION ON
                         THE UNKNOWN DEFENDANTS

       Plaintiff United States of America moves for an order authorizing service by publication

on the Unknown Defendants, pursuant to Federal Rule of Civil Procedure 4(e), 28 U.S.C. § 1655,

K.S.A. §§ 60-307(a)(3) and (a)(5) (ECF No. 28).

       THE COURT ORDERS that Plaintiff’s Motion for Service by Publication on the Unknown

Defendants is GRANTED for the reasons set forth therein.

       IT IS FURTHER ORDERED, for good cause shown, that the Unknown Defendants shall

appear or plead in this action filed on or before October 20, 2021, a date not less than 41 days

after the date the notice is first published, and in default thereof, the Court will find that the

Complaint and all other pleadings are true, and judgment, the nature of which shall be stated, will

be rendered accordingly.

       IT IS FURTHER ORDERED that notice of this Order shall be published not less than once

each week for 6 consecutive weeks in a newspaper having general circulation in Jefferson County,

Kansas.

       Dated August 24, 2021, at Kansas City, Kansas.
                                                             s/ James P. O’Hara
                                                            James P. O’Hara
                                                            U.S. Magistrate Judge




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